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     AARON’S, LLC (erroneously sued as
 7   AARON’S, INC.)
 8
 9                         UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12   EDDIE ORTIZ, an individual,     )          Case No.
                                     )
13                  Plaintiff,       )
                                     )
14          v.                       )           NOTICE OF REMOVAL
                                     )
15   AARON’S, INC., WHICH WILL DO )             [Riverside County Superior Court
     BUSINESS IN CALIFORNIA AS       )          Case No. CVSW2100006]
16   AARON’S SALES & LEASE           )
     OWNERSHIP, A CALIFORNIA         )
17   CORPORATION; and DOES 1 through )
     30, inclusive,                  )           Complaint Filed: January 4, 2021
18                                   )
                  Defendants.        )
19                                   )
                                     )
20                                   )
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 1   TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT
 2   OF CALIFORNIA AND TO PLAINTIFF AND HIS COUNSEL OF RECORD:
 3            PLEASE TAKE NOTICE that Defendant Aaron’s, LLC (“Defendant” or
 4   “Aaron’s”) hereby removes the above-captioned action from the Superior Court of the
 5   State of California, County of Riverside, to the United States District Court for the
 6   Central District of California, pursuant to 28 U.S.C. sections 1441 and 1446, asserting
 7   original federal jurisdiction on the basis of diversity, codified in relevant part at 28 U.S.C.
 8   section 1332, and states that the removal is proper for the following reasons:
 9   I.       PLEADINGS, PROCESSES, AND ORDERS
10            This removal involves an employment action filed in the Superior Court of
11   California for the County of Riverside entitled, EDDIE ORTIZ, an individual, Plaintiff,
12   v. AARON’S, INC., WHICH WILL DO BUSINESS IN CALIFORNIA AS AARON’S
13   SALES AND LEASE OWNERSHIP, A CALIFORNIA CORPORATION; and DOES 1
14   through 30; inclusive, Defendants, Case No. CVSW2100006. A true and correct copy of
15   the Summons, Complaint, Case Management Conference notice, and other documents
16   served on Defendant are attached as Exhibit A.
17            The Complaint alleges fourteen causes of action: (1) Failure to Reimburse
18   Business Expenses; (2) Failure to Provide Personnel and Payroll Records; (3) Failure to
19   Provide Meal Periods; (4) Failure to Provide Rest Periods (5) Failure to Pay Overtime
20   Compensation; (6) Failure to Pay Waiting Time Penalties; (7) Failure to Provide
21   Accurate, Itemized Wage Statements; (8) Disability/Medical Condition Discrimination;
22   (9) Failure to Accommodate Disability/Medical Condition; (10) Failure to Engage in the
23   Interactive Process; (11) Failure to Take Reasonable Steps to Prevent Discrimination and
24   Retaliation; (12) Retaliation; (13) Wrongful Termination; and (14) Unfair Business
25   Practices.
26            On April 9, 2021, Aaron’s filed an Answer to the Complaint in the Superior Court
27   of California for the County of Riverside. A true and correct copy of the Answer is
28   attached as Exhibit B.
                                                   1
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 1   II.      TIMELINESS OF REMOVAL
 2            Plaintiff served the Summons and Complaint on March 11, 2021. This Notice of
 3   Removal is timely because it is filed within thirty (30) days of the service upon
 4   Defendant of a copy of the Summons and Complaint. See 28 U.S.C. § 1446(b); see also
 5   Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 353-56 (1999) (holding
 6   that 30-day removal period begins when defendant is formally served).
 7   III.     DIVERSITY JURISDICTION
 8            This action is removable under 28 U.S.C. section 1441 because it is a civil action
 9   over which this Court has diversity jurisdiction pursuant to 28 U.S.C. section 1332(a).
10   The requirements for diversity jurisdiction have been established because (a) there is
11   complete diversity of citizenship among the parties and (b) the amount in controversy
12   exceeds seventy-five thousand dollars ($75,000), exclusive of interest and costs. See 28
13   U.S.C. § 1332(a).
14            A.    Diverse Citizenship
15                  1.      Citizenship of Plaintiff
16            To establish citizenship for diversity purposes, a natural person must be both a
17   citizen of the United States and a domiciliary of one particular state. See Kantor v.
18   Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir. 1983). A party’s residence is
19   prima facie evidence of his or her domicile. See State Farm Mut. Auto Ins. Co. v. Dyer,
20   19 F.3d 514, 520 (10th Cir. 1994). Here, Plaintiff alleges in his complaint: “Plaintiff at
21   all relevant times was a resident of Riverside County, California.” (Exh. 1; Complaint at
22   ¶2.) Plaintiff is therefore a citizen of California.
23                  2.      Citizenship of Original Defendant Aaron’s, Inc. and It’s Successor
                            Aaron’s, LLC
24
25                          a.    Original Defendant Aaron’s, Inc.
26            A corporation is a citizen only of (1) the state where its principal place of business
27   is located, and (2) the state in which it is incorporated. Id. Under the “nerve center” test,
28   the principal place of business is the state where the “officers direct, control, and
                                                       2
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 1   coordinate” the corporation’s activities and where the corporation maintains its
 2   headquarters. Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).
 3            Aaron’s is incorporated under the laws of the State of Georgia. (Schukle Decl. at
 4   ¶4.) In addition, its corporate headquarters is located in Atlanta, Georgia, which is where
 5   its officers direct, control, and coordinate its activities. (Id.) Therefore, Aaron’s is a
 6   citizen of the State of Georgia.
 7                          b.    Aaron’s, LLC
 8            For purposes of diversity jurisdiction, an unincorporated association, such as a
 9   partnership, has the citizenships of all of its members. See Johnson v. Columbia Props.
10   Anchorage, LP., 437 F.3d 894, 899 (9th Cir. 2006). A limited partnership is an
11   unincorporated association. Id. Likewise, a limited liability company is also treated as
12   an unincorporated association and thus has the citizenship of its members. Godoy v.
13   Bank of New York Mellon, 2016 WL 4072333, at *2 (C.D. Cal. July 29, 2016) (relying on
14   Johnson, 437 F.3d at 899, for the principle that “an LLC is a citizen of every state of
15   which its owners/members are citizens”).
16            In October 2020, Aaron’s, Inc. reorganized and became Aaron’s, LLC. Aaron’s,
17   LLC is a single member LLC organized under the laws of the State of Georgia. Aaron’s,
18   LLC’s headquarters is located in Atlanta, Georgia, where its high-level officers direct,
19   control, and coordinate its activities. (Schukle Decl. at ¶5.)
20            The sole member of Aaron’s, LLC is The Aaron’s Company, Inc. a corporation
21   incorporated under the laws of the State of Georgia. The Aaron’s Company, Inc.’s
22   headquarters is located in Atlanta, Georgia, where its high-level officers direct, control,
23   and coordinate its activities. (Schukle Decl. at ¶6.)
24            Therefore, Aaron’s, LLC is a citizen of Georgia.
25                  3.      Doe Defendants’ Citizenship Must Be Disregarded
26            Pursuant to 28 U.S.C. section 1441(a), the residence of fictitious and unknown
27   defendants should be disregarded for purposes of establishing removal jurisdiction under
28   28 U.S.C. section 1332. Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir.
                                                     3
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 1   1980) (“[U]known defendants sued as “Does” need not be joined in a removal petition.”).
 2   Thus, the existence of Doe defendants 1 through 50, inclusive, does not deprive this
 3   Court of jurisdiction.
 4            Accordingly, pursuant to 28 U.S.C. section 1332(c), Plaintiff and Defendants have
 5   diverse citizenship.
 6            B.    Amount In Controversy
 7            While Defendant denies any liability as to Plaintiff’s claims, the amount in
 8   controversy requirement is satisfied because it is more likely than not that the amount
 9   exceeds the jurisdictional minimum of $75,000. See Sanchez v. Monumental Life Ins.,
10   102 F.3d 398, 403-404 (9th Cir. 1996) (“the defendant must provide evidence
11   establishing that it is ‘more likely than not’ that the amount in controversy exceeds [the
12   threshold] amount.” (internal citation omitted)).
13            As explained by the Ninth Circuit, “the amount-in-controversy inquiry in the
14   removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co.,
15   372 F.3d 1115, 1117 (9th Cir. 2004) (finding that the Court may consider facts presented
16   in the removal petition). In determining the amount in controversy, the Court must
17   consider the aggregate of general damages, special damages, punitive damages, and
18   attorneys’ fees. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998)
19   (claims for statutory attorneys’ fees to be included in amount in controversy, regardless
20   of whether such an award is discretionary or mandatory); Bank of Calif. Nat’l Ass’n v.
21   Twin Harbors Lumber Co., 465 F.2d 489, 491 (9th Cir. 1972).
22                  1.      Discrimination/Retaliation/Wrongful Termination Compensatory
                            Damages
23
24                          a.    Lost Earnings Damages
25            Plaintiff alleges that he “has sustained, and continues to sustain economic damages
26   in lost earnings and other employment benefits…” (Compl. at ¶¶68, 74, 82, 90, 102,
27   110.) Plaintiff alleges that he was wrongfully terminated on March 19, 2020. (Id. at
28   ¶20.) This removal is being filed on April 9, 2021. 55 weeks have passed since
                                                     4
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 1   Plaintiff’s alleged termination. Plaintiff alleges that he was paid $16.50 an hour. This
 2   means that his lost income to date is $36,300 (55 weeks x 40 hours a week x $16.50).
 3            The Court must also consider Plaintiff’s future income damages claims (i.e., front
 4   pay). Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 417 (9th Cir. 2018)(future wages
 5   are “at stake” in the litigation and must be considered in assessing the amount in
 6   controversy). The average tenure for a Customer Account Managers (Plaintiff’s position)
 7   at Aaron’s is 4.38 years (or 1599 days). (Schukle Decl. at ¶7.) Plaintiff alleges that he
 8   worked for Aaron’s from February 20, 2019 to Mar 19, 2020 (or 393 days), which means
 9   his alleged front pay claim is for 1206 days or just over 172 weeks. Awarding Plaintiff
10   172 weeks of front pay would entitle him to $113,520 (172 weeks x 40 hours a week x
11   $16.50). See also Traxler v. Multnomah County, 596 F.3d 1007, 1015 (9th Cir. 2010)
12   (upholding district court’s decision to award nearly 4 years of front pay). Thus,
13   Plaintiff’s total alleged lost earnings damages reasonably amount to $149,480. This
14   amount alone exceeds the jurisdictional minimum.
15                        b.     Emotional Distress Damages
16            Plaintiff alleges that he “has sustained, and continues to sustain non-economic
17   damages, including but not limited to emotional distress, anxiety, depression, tension,
18   loss of sleep and humiliation.” (Compl. at ¶¶68, 75, 83, 91, 103, 111.) While the details
19   of Plaintiff’s alleged emotional distress are not pleaded in the Complaint,1 in cases of
20   discrimination and retaliation, the emotional distress damages alone often exceed the
21   jurisdictional minimum. See Woodruff v. Pacific Gas& Electric, 2018 WL 4908010 (San
22   Francisco Sup. Ct. 2018) (plaintiff awarded $150,000.00 in emotional distress damages
23   for claims of retaliation in violation of Labor Code section 1102.5, and wrongful
24   termination in violation of public policy); Yu v. Grifols Biologicals Inc., 2017 WL
25   9807466 (Los Angeles Sup. Ct. 2017) (plaintiff awarded $285,785.00 in emotional
26   1
       Plaintiff’s failure to specify particular damages permits Aaron’s to reasonably estimate
27   the amount in controversy. See Abrego v. The Dow Chemical Co., 443 F.3d 676, 688-90
     (9th Cir. 2006) (the preponderance of evidence standard applies where a plaintiff “seeks
28   to no specific amount in damages,” and a court will consider facts in the removal petition
     to determine whether jurisdictional requirements are met).
                                                    5
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 1   distress damages for claims of retaliation in violation of Labor Code section 1102.5 and
 2   wrongful termination in violation of public policy); Williams v. Wyndham Vacation
 3   Ownership, 2016 WL 8114384 (San Francisco Sup. Ct. 2016) (plaintiff awarded $1.3
 4   million in emotional distress damages for claims of retaliation in violation of Labor Code
 5   section 1102.5 and wrongful termination in violation of public policy); Nickel v. Staples
 6   Contract & Commercial Inc., et al., No. BC481391, 2014 WL 4658322 (Los Angeles
 7   County Super. Ct. 2014) ($26,107,328 verdict in single-plaintiff age discrimination,
 8   harassment, and wrongful termination action, of which $2,400,000 was allocated for pain
 9   and suffering); Kelley v. Merle Norman Cosmetics, No. BC454430, 2013 WL 1898806
10   (Los Angeles County Super. Ct. 2013) ($1,055,236 verdict in a single-plaintiff
11   employment action alleging, inter alia, harassment, retaliation, violation of Labor Code
12   section 1102.5, constructive discharge and intentional infliction of emotional distress, of
13   which $360,000 was allocated for past non-economic loss); Jaffe v. UHS-Corona Inc.,
14   No. RIC-543130, 2013 WL 8509821 (Riverside County Sup. Ct. 2013) (non-economic
15   damages award of $275,000 in case alleging wrongful termination, retaliation for filing
16   written health and safety complaints, and missed meal break claims); Silverman v. Stuart
17   F. Cooper Inc., 2013 WL 5820140 (Los Angeles Sup. Ct. 2013) (jury awarded $151,333
18   for emotional distress damages in discrimination, retaliation, and wrongful termination
19   case); Aboulafia v. GACN Inc., 2013 WL 8115991 (Los Angeles Sup. Ct. 2013) (pain and
20   suffering awards of $250,000, $250,000, $250,000, and $250,267 to four employees in
21   discrimination action); Ward v. Cadbury Schweppes Bottling Grp., 2011 WL 7447633
22   (C.D. Cal. 2011) (jury award $5,600,000 in non-economic damages to six plaintiffs in
23   discrimination and constructive discharge case); Welch v. Ivy Hill Corp., 2011 WL
24   3293268 (Los Angeles Sup. Ct. 2011) (award of $1,270,000 in pain and suffering to
25   employee in an age discrimination action alleging wrongful termination); Leimandt v.
26   Mega RV Corp., 2011 WL 2912831 (Orange County Sup. Ct. 2011) (jury awarded
27   $385,000 in pain and suffering to employee in an age discrimination case alleging
28   wrongful termination). (Wahlander Decl. at ¶3, Ex. A.)
                                                  6
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 1            These awards demonstrate that the typical value of Plaintiff’s claimed emotional
 2   distress damages exceeds the $75,000 amount in controversy requirement on its own.
 3                        c.     Punitive Damages
 4            The Court must also consider Plaintiff’s request for punitive damages in
 5   determining the amount in controversy. Davenport v. Mutual Benefit Health & Accident
 6   Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into account
 7   where recoverable under state law). Plaintiff also seeks punitive damages. (Compl. at
 8   ¶113, Prayer for Relief at ¶3.)
 9            An examination of jury awards shows that punitive damages awards alone in these
10   types of employment cases typically exceed the $75,000 amount in controversy
11   requirement. See Babyak v. Cardiovascular Systems, Inc., 2017 WL 1907785 (Los
12   Angeles Sup. Ct. 2017) (plaintiff awarded $22.4 million in punitive damages for claims
13   of retaliation in violation of Labor Code section 1102.5 and wrongful termination in
14   violation of public policy); Casillas v. Central California Faculty Med. Grp., Inc., 2016
15   WL 9281429 (Fresno Sup. Ct. 2016) (plaintiff awarded $500,000.00 in punitive damages
16   for claims of retaliation in violation of Labor Code section 1102.5 and wrongful
17   termination in violation of public policy); Williams v. Wyndham Vacation Ownership,
18   2016 WL 8114384 (San Francisco Sup. Ct. 2016) (plaintiff awarded $18.5 million in
19   punitive damages for claims of retaliation in violation of Labor Code section 1102.5 and
20   wrongful termination in violation of public policy); Anderton v. Bass Underwriters Inc.,
21   No. 34-2013-00149236-CU-WT-GDS, 2015 WL 7721538 (Sacramento County Super.
22   Ct. 2015) ($4,750,000 verdict in single-plaintiff age and gender discrimination,
23   retaliation, and wrongful termination action, of which $2,750,000 was a punitive
24   damages award); Nickel, supra, 2014 WL 4658322 (awarding $22,843,912 in punitive
25   damages); Jaffe v. UHS-Corona Inc., No. RIC-543130, 2013 WL 8509821 (Riverside
26   County Sup. Ct. 2013) (punitive damages award of $100,000 in case alleging wrongful
27   termination, retaliation for filing written health and safety complaints, and missed meal
28   break claims); Crangle v. Stanford Univ., 2000 WL 33727181 (N.D. Cal. 2000) (punitive
                                                   7
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 1   damages award of $200,000 where sole remaining claim was for retaliation based on
 2   making complaint of discrimination). (Wahlander Decl. at ¶3, Ex. A.)
 3            All of these verdicts show that the typical punitive damages award in similar cases
 4   exceeds the jurisdictional minimum of $75,000.
 5                         d.    Attorneys’ Fees
 6            Courts have also awarded far in excess of $75,000 in attorneys’ fees in cases
 7   involving allegations of discrimination, retaliation, and wrongful discharge. See, e.g.,
 8   Coyle v. Regents of The University of California, et al., 2017 WL 1091234 (Riverside
 9   County Sup. Ct. 2017) (plaintiff awarded $1,477,293.00 in attorneys’ fees in case
10   involving claims of retaliation in violation of Labor Code section 1102.5 and wrongful
11   termination in violation of public policy); Begazo v. Passages Silver Strand LLC, 2017
12   WL 2402841 (Los Angeles County Sup. Ct. 2017) (plaintiff awarded $375,568.00 in
13   attorneys’ fees in case involving claims of retaliation in violation of Labor Code section
14   1102.5 and wrongful termination in violation of public policy); Jaffe v. UHS-Corona Inc.,
15   No. RIC-543130, 2013 WL 8509821 (Riverside County Sup. Ct. 2013) (attorneys’ fees
16   award of $160,000 in case alleging wrongful termination, retaliation for filing written
17   health and safety complaints, and missed meal break claims); Lieberman vs. WellPoint
18   Inc., No. 56200900348433, 2011 WL 10725941 (Ventura County Sup. Ct. 2011)
19   (attorneys fees’ of $207,775 awarded in an action involving discrimination, wrongful
20   termination and breach of contract); Denenberg v. California Dep’t of Trans., No.
21   GIC836582, 2007 WL 2827715 (San Diego County Sup. Ct. 2006) (attorney’s fees
22   award of $490,000 in case alleging discrimination, harassment, and retaliation).
23   (Wahlander Decl. at ¶3, Ex. A.)
24            Since the claims alleged in this complaint are similar to those alleged in the above
25   cases, it is more likely than not that the attorneys’ fees alone will exceed $75,000. In
26   fact, Plaintiff’s demand letter from May of 2020 stated that his counsel’s attorneys’ fees
27   through trial reach “six figures.” (Wahlander Decl. at ¶4, Ex. B at p. 14.) As a result, the
28   amount in controversy in this matter exceeds $75,000.
                                                    8
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 1                   2.      Plaintiff’s Wage and Hour Claims
 2                           a.    Personnel File Claims
 3             Plaintiff alleges that Aaron’s failed to provide him with his personnel file and his
 4    payroll records under Labor Code §§ 1198.5 and 226. (Compl. at ¶¶21, 22.) Both statutes
 5    provide for a $750 penalty for failure to comply. Labor Code §§ 1198.5(k) and 226(f).
 6    Therefore, Plaintiff’s alleged damages for this claim increases the amount in controversy
 7    by $1,500.
 8                           b.    Waiting Time Penalties
 9             Plaintiff alleges that Aaron’s failed to pay him all wages owed at the time of his
10    termination under Labor Code § 203, which allows for a day of pay for each day the
11    wages are not paid up to 30 days. (Compl. at ¶55.) This means the damages for this
12    claim increase the amount in controversy by $3,960. ($16.50 x 8 hours a day x 30 days).
13                           c.    Meal and Rest Break Claims
14             Plaintiff also asserts meal and rest break claims by asserting that he was not
15    provided all his meal and rest breaks as they were interrupted or he was not relieved of all
16    his duties. (Compl. at ¶12.) Plaintiff also alleges he “consistently worked for [Aaron’s’]
17    for more than five (5) hours per shift with no or untimely” meal or rest breaks, where the
18    break was interrupted or he was not relieved of all of his duties.” (Id. at ¶¶28, 34.) Such
19    allegations, in the absence of more specificity, make a 100% violation rate reasonable to
20    assume. As such, Plaintiff’s damages for his meal period claim would be $4,620 (5 days
21    a week x 56 weeks worked x $16.50) and his damages for his rest period claim would be
22    $4,620 (same formula). This increases the amount in controversy by $9,240.
23                           d.    Overtime Claim, Expense Reimbursement Claim,
                                   Inaccurate Wage Statement Claims, and Attorneys’ Fees
24
25             Plaintiff also alleges claims for unpaid overtime, expense reimbursement, and
26    inaccurate wage statements. However, Plaintiff’s complaint does not provide sufficient
27    detail or allegations for Aaron’s to make a reasonable approximation of the value of that
28    claim as Plaintiff does not allege a number of overtime hours worked, the amount of his
                                                      9
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 1    cell phone expenses, or identify when he worked unpaid overtime. Nevertheless, those
 2    claims have value, as do the attorneys’ provisions of the statutes associated with those
 3    claims. This only serves to increase the amount in controversy.
 4             Based on the foregoing, the amount in controversy exceeds $75,000.
 5    V.       VENUE AND INTRA-DISTRICT ASSIGNMENT
 6             Venue lies in this Court pursuant to 28 U.S.C. sections 1441(a) because his action
 7    originally was brought in the Superior Court of the State of California, County of
 8    Riverside. Moreover, Plaintiff alleges his claims arose in the County of Riverside.
 9    (Compl. at ¶2.)
10    V.       NOTICE OF REMOVAL
11             Pursuant to 28 U.S.C. Section 1446(d), written notice of the filing of this Notice of
12    Removal will be promptly served on Plaintiff and, together with a copy of the Notice of
13    Removal, will be filed with the Clerk of the Superior Court of the State of California,
14    County of Riverside.
15             This Notice of Removal will be served on counsel for Plaintiff. A copy of the
16    Proof of Service regarding the Notice of Removal will be filed shortly after these papers
17    are filed and served.
18                                     PRAYER FOR REMOVAL
19             WHEREFORE, Aaron’s prays that this civil action be removed from the Superior
20    Court of the State of California, County of Riverside to the United States District Court
21    for the Central District of California.
22    DATED: April 12, 2021                         Respectfully submitted,
23                                                  SEYFARTH SHAW LLP
24                                                  BY: /s/ Michael A. Wahlander
                                                       Christian J. Rowley
25                                                     Michael A. Wahlander
26                                                  Attorneys for Defendant
                                                    AARON’S, LLC (erroneously sued as
27                                                  AARON’S, INC.)
28
                                                     10
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              Exhibit A




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              Exhibit B




                                             Exhibit B
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 1             Defendant AARON’S, LLC. (“Defendant”) hereby answers the unverified Complaint

 2    (“Complaint”) of Plaintiff Eddie Ortiz (“Plaintiff”) as follows:

 3                                                GENERAL DENIAL

 4             Pursuant to California Code of Civil Procedure § 431.30(d), Defendant generally denies each and

 5    every allegation and cause of action in Plaintiff’s Complaint, and without limiting the generality of the

 6    foregoing, further denies that Plaintiff has been damaged in any amount, or at all, by reason of any act or

 7    omission of Defendant.

 8                                    SEPARATE ADDITIONAL DEFENSES

 9             In further answer to Plaintiff’s Complaint, Defendant alleges the following additional defenses.
10    In asserting these defenses, Defendant does not assume the burden of proof as to matters that, pursuant

11    to law, are Plaintiff’s burden to prove.

12                                                 FIRST DEFENSE

13                           (Failure to State a Cause of Action - All Causes of Action)

14             The Complaint, and each and every purported cause of action alleged therein, fails to state facts

15    sufficient to constitute a cause of action or claim for relief.

16                                                SECOND DEFENSE

17                                  (Statute of Limitations - All Causes of Action)

18             Plaintiff’s causes of actions are barred in whole or in part to the extent he commenced this action

19    after the applicable statute of limitations, including, but not limited to the statutes of limitations in
20    California Code of Civil Procedure §§ 335.1, 337, 338(a), 339(1) 340, 343, California Government Code

21    §§ 12960, 12965, and Business and Professions Code § 17208.

22                                                 THIRD DEFENSE

23                                     (Unclean Hands - All Causes of Action)

24             Plaintiff’s claims are barred in whole or in part to the extent he has unclean hands.

25                                                FOURTH DEFENSE

26                       (Lack of Knowledge of Incurred Expenses - First Cause of Action)

27             Plaintiff’s claims are barred to the extent that Defendant did not know and had no reason to

28    know that Plaintiff incurred necessary business expenses and were not properly reimbursed.
                                                             1
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 1                                                 FIFTH DEFENSE

 2                          (Reimbursement Obligation Satisfied - First Cause of Action)

 3             Plaintiff’s claims fail to the extent that Defendant has satisfied any expense reimbursement

 4    obligation under California Labor Code section 2802 and/or Plaintiff failed to request reimbursement for

 5    reasonable and necessary business expenses reimbursable under Labor Code section 2802.

 6                                                 SIXTH DEFENSE

 7                        (Unreasonable and Unnecessary Expenses - First Cause of Action)

 8             Plaintiff’s claims fail to the extent that Plaintiff seeks reimbursement for expenses that were not

 9    incurred in the direct consequence of the discharge of his duties or were not necessary and reasonable.
10                                               SEVENTH DEFENSE
11      (Meal and Rest Breaks Provided But Voluntarily Not Taken - Third through Seventh Causes of

12                                                       Action)

13             At all times relevant to the Complaint, Defendant provided meal periods, and authorized and

14    permitted rest breaks that met the requirements under the law. To the extent that Plaintiff voluntarily

15    chose not to take such breaks, start them late, end them early, or work during them, no violation of the

16    law occurred. Thus, his meal and rest period claims are barred.

17                                               EIGHTH DEFENSE

18                  (Missed Meal and Rest Breaks Paid - Third through Seventh Causes of Action)

19             To the extent that Plaintiff was paid additional compensation for missed meal or rest periods, his
20    meal and rest period claims are barred.

21                                                NINTH DEFENSE

22                       (Not Compensable Time - Fifth through Seventh Causes of Action)

23             Plaintiff’s claims are precluded because they seek compensation and civil penalties for time that

24    is not compensable work time including, but not limited to, unauthorized work, work performed without

25    Defendant’s knowledge, and work not subject to or under Defendant’s control.

26                                                TENTH DEFENSE

27                             (De Minimis - Fifth through Seventh Causes of Action)

28             Plaintiff’s Complaint seeks compensation for time which, even if in fact worked, was de minimis
                                                            2
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 1    and therefore is not recoverable. Pursuant to the de minimis doctrine, an employer is not required to pay

 2    for insubstantial or insignificant periods of purported off-the-clock work.

 3                                              ELEVENTH DEFENSE

 4                          (Not Hours Worked - Fifth through Seventh Causes of Action)

 5             Plaintiff’s claims are barred because the hours Plaintiff alleges were worked are not “hours

 6    worked” within the meaning of applicable law.

 7                                               TWELFTH DEFENSE

 8                  (Lack of Knowledge of Hours Worked - Fifth through Seventh Causes of Action)

 9             Plaintiff’s claims are barred to the extent Defendant did not know and had no reason to know
10    that Plaintiff performed work.

11                                             THIRTEENTH DEFENSE

12                            (Offset - First, Second through Seventh Causes of Action)

13             To the extent that Plaintiff is entitled to damages or penalties, Defendant is entitled to an offset

14    for any payments of expenses, wages, or other remuneration previously provided to Plaintiff.

15                                            FOURTEENTH DEFENSE

16                               (Overtime - Fifth through Seventh Causes of Action)

17             To the extent Plaintiff was paid overtime compensation at the legally required rate for hours

18    worked in excess of 8 hours in a day or 40 hours in a week, his overtime claims are barred.

19                                              FIFTEENTH DEFENSE
20                          (Good-Faith Dispute Labor Code § 203 - Sixth Cause of Action)

21             Plaintiff is not entitled to Labor Code section 203 penalties because a good-faith dispute existed

22    as to the monies allegedly owed at the time of the termination, such that Defendant cannot be held to

23    have willfully failed to comply with the requirements of the applicable Labor Code sections. See, Cal.

24    Code Regs., tit. 8, § 13520.

25                                              SIXTEENTH DEFENSE

26                        (No Willful Violation of Labor Code § 203 - Sixth Cause of Action)

27             Plaintiff may not claim Labor Code § 203 penalties because Defendant did not willfully fail to

28    comply with the requirements of the California Labor Code.
                                                             3
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 1                                            SEVENTEENTH DEFENSE

 2                        (No Knowing and Intentional Violation - Seventh Cause of Action)

 3             Any alleged violation of Labor Code section 226 was not knowing and intentional and therefore

 4    Plaintiff’s requested recovery is barred.

 5                                             EIGHTEENTH DEFENSE

 6         (Legitimate Non-Discriminatory and/or Non-Retaliatory Factors - Eighth through Fourteenth

 7                                                  Causes of Action)

 8             Plaintiff may not obtain the relief requested in his Complaint because any adverse employment

 9    actions taken against him were based on legitimate, non-discriminatory and/or non-retaliatory factors
10    and not any protected characteristic or his purported participation in any alleged protected activity.

11                                             NINETEENTH DEFENSE

12         (Failure to Exhaust Administrative Remedies - Eighth through Fourteenth Causes of Action)

13             Plaintiff’s causes of action are barred in whole or in part to the extent he failed to exhaust the

14    required administrative procedures or remedies or otherwise failed to complete, in a timely manner,

15    those steps that are necessary prerequisites under applicable law, including but not limited to, the

16    California Fair Employment and Housing Act. (Gov. Code §§ 12940 et seq.).

17                                              TWENTIETH DEFENSE

18         (Failure to File Timely Administrative Charge - Eighth through Fourteenth Causes of Action)

19             Plaintiff’s causes of action are barred in whole or in part to the extent he failed to file a proper
20    charge with an appropriate administrative agency within the required legal deadlines, including, but not

21    limited to the deadlines under California Government Code sections 12960, et. seq.

22                                            TWENTY-FIRST DEFENSE

23                  (Scope of Administrative Charge - Eighth through Fourteenth Causes of Action)

24             Plaintiff’s causes of action are barred in whole or in part to the extent that Plaintiff’s allegations

25    do not appear in any timely and proper administrative charge filed by Plaintiff before commencing this

26    lawsuit.

27    //

28    //
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 1                                         TWENTY-SECOND DEFENSE

 2                     (At-Will Employment - Eighth through Fourteenth Causes of Action)

 3             Plaintiff’s purported causes of action are barred pursuant to California Labor Code § 2922 in that

 4    Plaintiff’s employment was, at all times, at-will.

 5                                          TWENTY-THIRD DEFENSE

 6                        (Same Decision - Eighth through Fourteenth Causes of Action)

 7             Even if any employment decision Defendant made or any employment action Defendant took

 8    with respect to Plaintiff is found to have been unlawfully motivated, which Defendant specifically

 9    denies, Plaintiff’s claims are barred in whole or in part to the extent that the decisions and actions would
10    have occurred in the absence of that motivation.

11                                         TWENTY-FOURTH DEFENSE

12          (Mixed-Motive Bar to Monetary Recovery - Eighth through Fourteenth Causes of Action)

13             To the extent that Plaintiff demonstrates his protected status was a substantial motivating factor

14    for any challenged employment action, Defendant would have taken the same action absent the

15    substantial motivating factor. As a result, the court may not award Plaintiff damages, back pay, or order

16    reinstatement. Harris v. City of Santa Monica, (2013) 56 Cal. 4th 203, 211.

17                                          TWENTY-FIFTH DEFENSE

18                   (Management Discretion - Eighth through Fourteenth Causes of Action)

19             Any and all conduct of which Plaintiff complains or which is attributed to Defendant was a just
20    and proper exercise of management discretion on the part of Defendant undertaken for a fair and honest

21    belief other than any protected characteristic or Plaintiff’s supposed engagement in protected activity.

22                                          TWENTY-SIXTH DEFENSE

23           (Conduct Does Not Violate Public Policy - Eighth through Fourteenth Causes of Action)

24             Defendant’s conduct did not violate the language or public policy of the State of California, the

25    Constitution of the State of California, or any statute or regulation, and therefore cannot form the basis

26    for a claim of wrongful termination in violation of public policy, or related claims.

27    //

28    //
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 1                                          TWENTY-SEVENTH DEFENSE

 2         (Failure to Participate in the Interactive Process - Eighth through Fourteenth Causes of Action)

 3              Plaintiff refused to participate in the interactive process in good faith, and, as a result, Defendant

 4    is not liable for any failure to accommodate his purported disability.

 5                                           TWENTY-EIGHTH DEFENSE

 6                       (Failure to Mitigate - Eighth through Fourteenth Causes of Action)

 7              Plaintiff is not entitled to back pay and/or other damages, to the extent that he failed to seek and

 8    obtain other employment and otherwise failed to mitigate his alleged wage loss or any other damages.

 9                                            TWENTY-NINTH DEFENSE
10         (Punitive Damages Provisions Unconstitutional - Eighth through Fourteenth Causes of Action)

11              On their face and as applied to the Complaint, the provisions of Civil Code §§ 3294, et seq.

12    violate Defendant’s rights under the Due Process clause of the Fourteenth Amendment of the United

13    States Constitution and/or Article I, Section VII of the California Constitution in that, among other

14    things: (1) the Civil Code provisions are unconstitutionally vague; and (2) the Civil Code Provisions do

15    not limit punitive damages to an amount that is constitutionally reasonable or proportionate to any harm

16    caused.

17                                               THIRTIETH DEFENSE

18         (No Facts Alleged to Support Punitive Damages - Eighth through Fourteenth Causes of Action)

19              Plaintiff’s prayer for punitive or exemplary damages is barred in that Plaintiff has failed to allege
20    sufficient facts of malice, oppression, or fraud against Defendant and cannot comply with the

21    requirements of Civil Code section 3294.

22                                             THIRTY-FIRST DEFENSE

23         (No Punitive Damages for Good Faith Conduct - Eighth through Fourteenth Causes of Action)

24              Plaintiff is not entitled to recover any punitive damages for decisions or actions that were made

25    in good faith.

26    //

27    //

28    //
                                                              6
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 1                                           THIRTY-SECOND DEFENSE

 2                                     (Labor Code § 2856 - All Causes of Action)

 3             Plaintiff’s claims are barred by Labor Code section 2856 to the extent that Plaintiff failed to

 4    substantially comply with all the directions of Defendant, and such failure proximately caused the

 5    alleged losses for which Plaintiff seeks relief.

 6                                             THIRTY-THIRD DEFENSE

 7                              (Laches, Waiver, and Estoppel - All Causes of Action)

 8             Plaintiff is not entitled to any relief to the extent he forfeited his right to relief under the doctrine

 9    of laches, waived his right to relief, or is estopped from seeking the relief requested in the Complaint.
10                                           THIRTY-FOURTH DEFENSE

11                                         (Good Faith - All Causes of Action)

12             Assuming arguendo that any of the actions alleged in the Complaint were taken by Defendant,

13    such actions were taken in good faith and were a lawful exercise of sound discretion and Defendant’s

14    legal rights, and were based on a rational, reasonable consideration of the facts.

15                                             THIRTY-FIFTH DEFENSE

16                                    (No Attorneys’ Fees - All Causes of Action)

17             Plaintiff’s Complaint, and each purported cause of action therein, fails to state facts sufficient to

18    support a claim for recovery of attorneys’ fees against Defendant.

19                                             THIRTY-SIXTH DEFENSE
20                      (Pre-existing Injuries - Eighth through Fourteenth Causes of Action)

21             Plaintiff’s injuries, losses, or damages, if and to the extent they occurred, pre-existed or were

22    suffered after the relationships between Plaintiff and Defendant, and said injuries or illnesses were

23    neither caused nor exacerbated by said relationships.

24                                           THIRTY-SEVENTH DEFENSE

25       (Independent, Intervening, and/or Superseding Cause - Eighth through Fourteenth Causes of

26                                                         Action)

27             Defendant alleges that the injuries, losses, and/or damages alleged in the Complaint were caused

28    and/or contributed to by an independent, intervening, and/or superseding cause or causes over which
                                                              7
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 1    Defendant had no control, and for which Defendant is not liable or responsible.

 2                                          THIRTY-EIGHTH DEFENSE

 3                                 (Pending Litigation - Second Cause of Action)

 4             To the extent that Plaintiff made a valid request for records, Defendant had no obligation to

 5    respond to the extent that Plaintiff had already initiated legal proceedings against Defendant.

 6                                           THIRTY-NINTH DEFENSE

 7                                       (Arbitration - All Causes of Action)

 8             Plaintiff’s claims are barred because Plaintiff entered into a binding agreement to submit the

 9    claims alleged in this lawsuit to arbitration.
10                               RIGHT TO ASSERT ADDITIONAL DEFENSES

11             Defendant presently has insufficient knowledge or information upon which to form a belief as to

12    whether there may be additional, as yet unstated, defenses and reserves the right to assert additional

13    defenses in the event discovery or further investigation indicates such defenses are appropriate.

14                    DEFENDANT’S REQUEST FOR COSTS AND ATTORNEYS’ FEES

15             Plaintiff knew or should have known that his claims are without any reasonable basis in law or

16    equity and cannot be supported by good faith argument for extension, modification or reversal of

17    existing law. As a result of Plaintiff’s filing of this Complaint, Defendant has been required to obtain

18    the services of the undersigned attorneys, and have incurred and will continue to incur substantial costs

19    and attorneys’ fees in defense of this frivolous case, and Defendant is therefore entitled to recover
20    reasonable attorneys’ fees, expenses, and costs incurred by and through this action in accordance with

21    California Code of Civil Procedure Section 128.7.

22    //

23    //

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           DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES / CASE NO. CASE NO. CVSW2100006
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 1                                                   PRAYER

 2             WHEREFORE, Defendant prays for judgment against Plaintiff as follows:

 3             1.    That Plaintiff take nothing by his Complaint;

 4             2.    That judgment be entered in favor of Defendant and against Plaintiff on all causes of

 5                   action;

 6             3.    That Defendant be awarded reasonable attorneys’ fees according to proof;

 7             4.    That Defendant be awarded the costs of suit herein incurred; and

 8             5.    That Defendant be awarded such other and further relief as the Court may deem

 9                   appropriate.
10    DATED: April 9, 2021                              Respectfully submitted,
11                                                      SEYFARTH SHAW LLP
12

13

14
                                                        BY:
15                                                            Christian J. Rowley
                                                              Michael A. Wahlander
16
                                                        Attorneys for Defendant
17                                                      AARON’S, LLC.
18

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         DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES / CASE NO. CASE NO. CVSW2100006
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 1                                             PROOF OF SERVICE

 2           I am a resident of the State of California, over the age of eighteen years, and not a party to the
      within action. My business address is 560 Mission Street, 31st Floor, San Francisco, California 94105.
 3    On April 9, 2021, I served the within document(s):

 4              DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT FOR DAMAGES

 5          by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
       
        in the United States mail at San Francisco, California, addressed as set forth below.
 6
            by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
 7     
        below.

 8          by placing the document(s) listed above, together with an unsigned copy of this declaration, in a
       
        sealed envelope or package provided by an overnight delivery carrier with postage paid on
 9          account and deposited for collection with the overnight carrier at San Francisco, California,
            addressed as set forth below.
10
            by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
11     
        below.

12          electronically by using the Court’s ECF/CM System.
       
13

14
              Edward Antonino
15            Law Office of Edward Antonino
              15760 Ventura Blvd., Suite 700
16            Encino, CA 91436-
              (818) 995-9477
17

18            I am readily familiar with the firm's practice of collection and processing correspondence for
      mailing. Under that practice it would be deposited with the U.S. Postal Service on that same day with
19    postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
      served, service is presumed invalid if postal cancellation date or postage meter date is more than one day
20    after date of deposit for mailing in affidavit.
21           I declare under penalty of perjury under the laws of the State of California that the above is true
      and correct.
22
             Executed on April 9, 2021, at San Francisco, California.
23

24

25                                                                       Nancy J. Davilla
26

27

28

                                               PROOF OF SERVICE
